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                                 UNITED STATES DISTRICT COURT
13                              NORTHERN DISTRICT OF CALIFORNIA

14   VICIOUS BRANDS, INC. dba SAINTS &           Case No. 3:24-CV-04996-LJC
     SINNERS HAIRCARE, a Nevada
15   corporation,                                PLAINTIFF’S OPPOSITION TO
16                                               DEFENDANTS’ MOTION TO DISMISS
                   Plaintiff,                    COMPLAINT FOR LACK OF
17                                               PERSONAL JURISDICTION AND
            v.                                   IMPROPER VENUE
18
     HOLLY CUTLER, an individual, THE SKIN       Date:    November 12, 2024
19   SAINT, LLC, a Michigan limited liability    Time:    10:30 a.m.
20   company, FACE CO., LLC, a Michigan          Ct:      Courtroom G
     limited liability company,                  Judge:   Hon. Lisa J. Cisneros
21
                   Defendants.
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                                                   DEFENDANTS’ MOTION TO DISMISS
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1           Plaintiff Vicious Brands, Inc. dba Saints & Sinners (“Saints & Sinners” or “Plaintiff”)

2    hereby opposes the Motion to Dismiss Complaint for Lack of Personal Jurisdiction and

3    Improper Venue filed by Defendants Holly Cutler, The Skin Saint, LLC, and Face Co.,

4    LLC. (D.E. No. 16.)

5                                         INTRODUCTION

6           Plaintiff markets and sells hair care products in connection with its registered,

7    stylized logo trademark. Defendants market and sell competitive beauty products using a

8    confusingly similar mark, including in California. Plaintiff has sued Defendants for

9    trademark infringement.
10          Defendants have moved to dismiss the action for lack of jurisdiction and improper

11   venue, or in the alternative, to transfer the case to Michigan for the convenience of the

12   parties. Defendants primarily argue that this Court does not have personal jurisdiction

13   over them because Defendants’ sales of the infringing products in California comprise a

14   small portion of their total sales. However, courts in this Circuit have expressly rejected

15   Defendants’ jurisdictional argument because the Ninth Circuit has not articulated a small

16   percentage of sales exception to the purposeful direction principles. Moreover,

17   Defendants have not met their burden of making a strong showing that the exercise of

18   jurisdiction would be unreasonable. Among other reasons, Defendants have not shown

19   that litigation in this Court would be so gravely difficult and inconvenient as to place

20   Defendants at a severe disadvantage.

21          Defendants also argue that this Court is not a proper venue under 28 U.S.C.

22   §1391(b)(2). Again, courts in this Circuit have expressly rejected Defendants’ argument,

23   finding that in a trademark infringement action, a substantial part of the events occurs

24   where confusion of purchasers is likely to occur.

25          Finally, the relevant factors weigh against transferring this action under 28 U.S.C.

26   §1404(a) for the convenience of the parties and witnesses, where: a) Plaintiff’s choice of
27   forum is entitled to substantial deference, b) litigating the case in Michigan would simply

28   shift any inconvenience from Defendants to Plaintiff, c) Defendants have not identified
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1    any third-party witnesses who would be inconvenienced or evidence that would be

2    difficult to access, d) this Court is familiar with federal trademark laws and California law,

3    e) California has an interest in protecting its residents from consumer confusion, and f)

4    the median time to trial in this Court and in the Eastern District of Michigan are similar.

5           For all of these reasons, the Court should deny Defendants’ motion.

6                                           BACKGROUND

7           Saints & Sinners is a Nevada corporation, which is registered to conduct business

8    in California. (Declaration of Diana Wilson in Support of Plaintiff’s Opposition (“Wilson

9    Decl.”) ¶¶2-3.) Saints & Sinners develops, markets, and sells luxury hair care products.
10   (Wilson Decl. ¶4.) Since at least 2016, Saints & Sinners has continuously used the below

11   stylized logo on and in connection with its hair care products throughout the United

12   States and internationally (the “SS Mark”) (Wilson Decl. ¶5.):

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17   Through extensive use, marketing, branding and promotion, the SS Mark has become

18   well-known in California, the United States, and internationally, enjoying substantial

19   recognition, goodwill, and association with Saints & Sinners (Wilson Decl. ¶7.)

20          Defendant Holly Cutler is the founder and owner of The Skin Saint, LLC and Face

21   Co., LLC. (Cutler Decl. ¶¶1, 3.) Defendant The Skin Saint, LLC owns and operates the

22   website https://theskinsaint.com/, which offers for sale infringing products throughout the

23   United States, including in California. (Declaration of Karl S. Kronenberger in Support of

24   Plaintiff’s Opposition (“Kronenberger Decl.”) ¶2 & Ex. A.)

25          In March 2021, Defendants began using the below mark (the “Infringing Mark”) in

26   connection with their beauty products and services, including but not limited to, beauty
27   consultation services, cleansers, lotions, moisturizers, serums, masks, and creams.

28   (Cutler Decl. ¶10; Wilson Decl. ¶8.)
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4             On October 31, 2022, Defendant Face Co. filed an “in-use” trademark application,

5    Serial No. 97/655,815 (the “’815 Application), with the USPTO for the Infringing Mark.

6    (Kronenberger Decl. ¶3 & Ex. B.) On January 24, 2023, Face Co. assigned all of its

7    rights, title and interest in the Infringing Mark and the ‘815 Application to Defendant Holly

8    Cutler. (Kronenberger Decl. ¶4 & Ex. C.) On September 19, 2023, the ‘815 Application

9    was published for opposition in the Official Gazette. (Kronenberger Decl. ¶5 & Ex. D.)
10            On January 17, 2024, Saints & Sinners initiated an opposition proceeding against

11   the ‘815 Application with the Trademark Trial and Appeal Board, alleging likelihood of

12   confusion with the SS Mark. (Kronenberger Decl. ¶6.) As part of the opposition

13   proceeding, Defendant Holly Cutler was deposed on July 26, 2024. (Kronenberger Decl.

14   ¶7.)

15            On July 31, 2024, Defendant Holly Cutler assigned all of her rights, title and

16   interest in the Infringing Mark and the ‘815 Application to Defendant The Skin Saint, LLC.

17   This assignment was filed and recorded with the USPTO on August 7, 2024.

18   (Kronenberger Decl. ¶8 & Ex. E.) All three Defendants have used and owned the

19   Infringing Mark.

20                        STATEMENT OF THE ISSUES TO BE DECIDED

21            1.    Whether the Court has personal jurisdiction over Defendants based on their

22   marketing and sale of infringing products in California?

23            2.    Whether this Court is a proper venue for this action under 28 U.S.C.

24   §1391?

25            3.    Whether the Court should transfer this action for the convenience of the

26   parties and witnesses under 28 U.S.C. §1404(a)?
27   //

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1                                             ARGUMENT

2    A.     Legal Standard for Motions Challenging Personal Jurisdiction

3           A federal district court's jurisdiction over a defendant is the same as “the

4    jurisdiction of a court of general jurisdiction in the state where the district court is located.”

5    Fed. R. Civ. P. 4(k)(1)(A). California “allows the exercise of personal jurisdiction to the full

6    extent permissible under the U.S. Constitution.” Daimler AG v. Bauman, 571 U.S. 117,

7    125 (2014).

8           Under the Fourteenth Amendment's Due Process Clause, “a tribunal's authority

9    depends on the defendant's having such ‘contacts’ with the forum State that ‘the
10   maintenance of the suit is reasonable, in the context of our federal system of

11   government, and does not offend traditional notions of fair play and substantial justice.”

12   See Ford Motor Co. v. Montana Eighth Jud. Dist. Ct., 592 U.S. 351, 358 (2021). This

13   inquiry has long focused on the nature and extent of the defendant's relationship with the

14   forum state. See id. And that “focus” has resulted in two kinds of personal jurisdiction:

15   general jurisdiction and specific jurisdiction. See id.

16          A federal court may exercise general jurisdiction over a defendant only if the

17   defendant is essentially at home in the forum state. See Goodyear Dunlop Tires

18   Operations, S.A. v. Brown, 564 U.S. 915, 919 (2011).

19          Specific jurisdiction is different in that it “covers defendants less intimately

20   connected with a State,” and “only as to a narrower class of claims.” Ford Motor Co. v.

21   Montana Eighth Jud. Dist. Ct., 592 U.S. 352, 359 (2021). While general jurisdiction

22   depends on the relationship between the defendant and the forum, specific jurisdiction

23   depends on the relationship between “the defendant, the forum, and the litigation.”

24   Walden v. Fiore, 571 U.S. 277, 284 (2014) (quoting Keeton v. Hustler Magazine, Inc.,

25   465 U.S. 770, 775, (1984)). “Although a nonresident [defendant]'s physical presence

26   within the territorial jurisdiction of the court is not required,” such a defendant must still
27   have “minimum contacts” with the forum state “such that the maintenance of the suit

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1    does not offend ‘traditional notions of fair play and substantial justice’.” Id. at 283 (citation

2    omitted).

3           With those principles in mind, the Ninth Circuit has “established a three-prong test

4    for analyzing a claim of specific personal jurisdiction.” Schwarzenegger v. Fred Martin

5    Motor Co., 374 F.3d 797, 802 (9th Cir. 2004). First, the non-resident defendant must

6    purposefully direct her activities or consummate some transaction with the forum or

7    resident thereof; or perform some act by which she purposefully avails herself of the

8    privilege of conducting activities in the forum, thereby invoking the benefits and

9    protections of its laws. See id. Second, the claim must be one which arises out of or
10   relates to the defendant's forum-related activities. See id. Third, the exercise of

11   jurisdiction must comport with fair play and substantial justice, i.e. it must be reasonable.

12   See id.

13          1.     Purposeful Direction

14          For a court to have specific jurisdiction over a defendant, the defendant must

15   purposefully direct its activities at the forum state or purposefully avail itself of the

16   privilege of conducting activities there. See Schwarzenegger, 374 F.3d at 802. For “suits

17   sounding in tort,” the Ninth Circuit has applied a distinct “purposeful direction analysis.”

18   AMA Multimedia, LLC v. Wanat, 970 F.3d 1201, 1208 (9th Cir. 2020) (quotation omitted).

19   To show purposeful direction, a plaintiff typically alleges that the defendant took certain

20   “actions outside the forum state that are directed at the forum, such as the distribution in

21   the forum state of goods originating elsewhere.” Schwarzenegger, 374 F.3d at 803.

22   Specifically, the defendant must have “(1) committed an intentional act, (2) expressly

23   aimed at the forum state, (3) causing harm that the defendant knows is likely to be

24   suffered in the forum state.” Id. (citing Calder v. Jones, 465 U.S. 783 (1984)); Dole Food

25   Co., Inc. v. Watts, 303 F.3d 1104, 1111 (9th Cir. 2002)).

26          The Supreme Court has explained that the contacts supporting purposeful
27   direction “must be the defendant's own choice and not ‘random, isolated, or fortuitous.’”

28   Ford Motor Co., 592 U.S. at 359 (quoting Keeton, 465 U.S. at 774). The defendant must
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1    have “reached out beyond its home—by, for example, exploiting a market in the forum

2    state.” Id. (quotations and alterations omitted). Thus, a defendant does not purposefully

3    direct her activities at the forum state when the unilateral activity of the plaintiff or a third

4    party is all that connects the defendant to the forum state. See Walden, 571 U.S. at 284-

5    85 (citing World-Wide Volkswagen Corp. v. Woodson, 444 U.S. 286, 291–92 (1980)). Nor

6    does a defendant purposefully direct her activities at the forum state merely by directing

7    those activities at a person who happens to reside in the forum state, even if the

8    defendant knows the person resides there. See id. at 285. Instead, “it is the defendant's

9    own conduct that must form the necessary connection with the forum state.” Id.
10          2.     Nexus Between Contacts and the Litigation

11          For specific jurisdiction to exist, the plaintiff's claims must also “arise out of or

12   relate to the defendant's contacts” with the forum state. Ford Motor Co., 592 U.S. at 359

13   (quoting Bristol-Myers Squibb Co. v. Superior Ct. of California, San Francisco Cnty., 582

14   U.S. 255, 262 (2017). Claims “arise out of” the defendant's contacts with the forum state

15   when there is a causal connection between the contacts and the claims. See id. at 1026.

16   Claims that do not “arise out of” the defendant's contacts may nonetheless “relate to”

17   those contacts. See id. at 1026–28. The Supreme Court has not articulated a precise

18   “relate to” test, but if a company attempts to directly serve the market for its product in the

19   forum state, and its product causes an injury in the forum state, that is enough. See id. at

20   1027 (explaining that when a company serves the market of a forum state, and the

21   company's product causes an injury in the forum state, the forum state's courts have

22   jurisdiction over the company even if the specific product that caused the injury was not

23   designed, made, or sold by the company in the forum state).

24          3.     Reasonableness

25          Finally, “if the plaintiff succeeds in satisfying both of the first two prongs, the

26   burden then shifts to the defendant to ‘present a compelling case’ that the exercise of
27   jurisdiction would not be reasonable.” Schwarzenegger, 374 F.3d at 802.

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1           Courts in the Ninth Circuit use “a multi-factor balancing test to determine the

2    reasonableness of exercising personal jurisdiction over a non-resident defendant,

3    assessing: 1) the extent of the defendant's purposeful interjection into the forum state's

4    affairs; 2) the burden on the defendant; 3) conflicts of law between the forum and

5    defendant's home jurisdiction; 4) the forum's interest in adjudicating the dispute; 5) the

6    most efficient judicial resolution of the dispute; 6) the plaintiff's interest in convenient and

7    effective relief; and 7) the existence of an alternative forum.” Silk v. Bond, 65 F.4th 445,

8    458 (9th Cir. 2023).

9           4.     The Purposeful Direction Test Applied to Trademark Infringement
10                 Claims

11          “Trademark infringement is treated as tort-like for personal jurisdiction purposes,

12   and so we focus on purposeful direction here.” Ayla, LLC v. Alya Skin Pty. Ltd., 11 F.4th

13   972, 979 (9th Cir. 2021). Where a defendant has knowingly sold infringing products in

14   California, she has purposefully directed her activities at California knowing that the harm

15   was likely to be suffered in California because “the sale of [infringing] products in

16   California would plainly harm [a plaintiff’s] business interests there.” Cisco Sys., Inc. v.

17   Dexon Computer, Inc., 541 F. Supp. 3d 1009, 1016 (N.D. Cal. 2021). “By intentionally

18   ‘exploiting’ the California market, [a defendant] purposefully direct[s] its conduct at

19   California.” Id. The number of infringing products sold in California is irrelevant to this

20   inquiry, as the Ninth Circuit has not “articulate[d] a ‘small percentage of sales’ exception

21   to the purposeful direction principles.” Id. at 1017. Thus, a defendant’s repeated,

22   intentional, and direct sale of infringing products to California customers supports
23   specific jurisdiction so long as those sales were not random, isolated, or fortuitous,
24   even if the defendant sold many more products elsewhere. See id.
25          Second, where a defendant has sold infringing products in California, the

26   connection between the defendant’s contacts with California and the plaintiff’s trademark
27   infringement claims “could hardly be more direct.” Cisco Sys., Inc., 541 F. Supp. 3d at

28   1018. Specifically, a trademark infringement plaintiff’s claims arise out of a defendant’s
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1    sales of infringing products in California because the defendant caused the plaintiff’s

2    injuries in California by attempting to serve the California market. See id. at 1018.

3            In Cisco Systems, Inc., the plaintiff brought an action against a nonresident

4    technology vendor for federal trademark infringement and counterfeiting. See Cisco Sys.,

5    Inc., 541 F. Supp. 3d at 1014. The defendant moved to dismiss for lack of personal

6    jurisdiction, arguing that it had sold only 40 allegedly infringing products and 20 software

7    licenses to consumers in California between 2017 and 2020, which amounted to “1/8 of

8    1%” of its sales. See id. at 1017. The court rejected the defendant’s argument, finding

9    that its “argument finds no support in Supreme Court or Ninth Circuit caselaw, which
10   does not articulate a ‘small percentage of sales’ exception to the purposeful direction

11   principles discussed above.” Id.

12           Thus, unless a trademark defendant can make a compelling case that the exercise

13   of jurisdiction would be unreasonable, its intentional sale of infringing products in

14   California supports the exercise of personal jurisdiction.

15   B.      This Court has personal jurisdiction over Defendants.

16           This Court has personal jurisdiction over Defendants because: 1) Defendants

17   purposefully directed their marketing and sales at California, 2) Plaintiff’s claims arise out

18   of Defendants’ contacts with California, and 3) Defendants have not made a compelling

19   showing that the exercise of jurisdiction would be unreasonable.1

20           1.    Defendants purposefully directed their conduct at California when

21                 they marketed and sold infringing products in California.

22           Defendants argue that they did not purposefully direct their conduct at California

23   because they do not target California in their marketing, because their websites are

24
     1 While personal jurisdiction must be decided for each Defendant, Plaintiff’s Complaint
25
     alleges that each Defendant used the Infringing Mark in connection with beauty products
26   sold in California, and thus refers to Defendants collectively throughout the Complaint,
     alleging that they jointly committed the infringement (Compl. ¶¶11-13, passim.)
27   Defendants have not presented any evidence suggesting that the three Defendants did
     not all jointly engage in the alleged infringement; to the contrary, Defendants’ evidence
28   refers to Defendants collectively (Cutler Decl. passim.)
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1    passive, and because they only had a small amount of sales in California. (Mot. at 6:27,

2    7:24-26.) Defendants’ argument fails on all fronts.

3           First, contrary to Defendants’ claim, Defendants maintain fully interactive websites

4    at https://theskinsaint.com/ and https://www.facebeautyscience.com/. These websites are

5    generally available to consumers in California, and they prominently display the Infringing

6    Mark. (Kronenberger Decl. ¶9 & Ex. F.) On Defendants’ websites, customers in California

7    can purchase products bearing the Infringing Mark for delivery in California.2

8    (Kronenberger Decl. ¶10.)

9           Second, since March of 2021, Defendants’ have sold 89 products bearing the
10   Infringing Mark in California (totaling $12,336.40). (Cutler Decl. ¶10.) Thus, this case is

11   highly analogous to Cisco Systems, Inc., in which the court found that the defendant had

12   purposefully directed its infringing conduct at California when it sold 40 infringing

13   products and 20 infringing software licenses to customers in California.

14          In summary, Defendants purposefully directed their conduct toward California by

15   marketing and selling products bearing the Infringing Mark, even if those sales

16   constituted a relatively small portion of Defendants’ total sales.

17          2.     Plaintiff’s claims arise out of Defendants’ contacts with California,

18                 namely the marketing and sale of products bearing the Infringing Mark

19                 in California.

20          Defendants argue that Saints & Sinners’ claims do not arise out of Defendants’

21   “forum-related activities” because Defendants’ interactions with California are minimal.

22   (Mot. at 8:23.) This argument lacks merit.

23          In Cisco Systems, Inc., the court found that the connection between the

24   defendant’s contacts with California and the plaintiff’s claims “could hardly be more

25   direct.” Cisco Sys., Inc., 541 F. Supp. 3d at 1018. The plaintiff in Cisco Systems, Inc.

26
     2 When customers visit the www.facebeautyscience.com website, they can purchase
27   products bearing the Infringing Mark by selecting Skin Saint Products under the Specials
     tab in the website header. From there, customers are automatically redirected to the
28   https://theskinsaint.com/ website to complete their purchase. (Kronenberger Decl. ¶10.)
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1    alleged that the defendant violated federal and California trademark laws by selling

2    infringing products in California. Id. The court found that the plaintiff’s claims arose out of

3    the defendant’s contacts with California because the claims had a causal relationship

4    with the defendant’s California sales. Id. The court also found that the plaintiff’s claims

5    related to the defendant’s contacts with California because the defendant caused the

6    plaintiff’s alleged injuries while attempting to serve the California market. Id.

7           The facts are the same here. Plaintiff has alleged that Defendants’ marketing and

8    sales of products bearing the Infringing Mark in California violated federal and California

9    trademark laws. Plaintiff’s claims arise out of Defendants contacts with California
10   because the claims have a causal relationship with Defendants’ California sales.

11   Plaintiff’s claims also relate to Defendants’ contacts with California because Defendants

12   injured Plaintiff while Defendants were serving the California market. Thus, Plaintiff has

13   established a sufficient nexus between its claims and Defendants’ conduct directed at

14   California.

15          3.     Defendants have not made a compelling case that the exercise of

16                 jurisdiction would be unreasonable.

17          Because Plaintiff has shown that Defendants purposefully directed their conduct at

18   California, and because Plaintiff’s claims arise out of Defendants’ California contacts,

19   Defendants must make a “compelling case” that it would be unreasonable for the Court

20   to exercise personal jurisdiction. Schwarzenegger, 374 F.3d at 802. Defendants have not

21   done so, as summarized below.

22      •   Defendants’ Purposeful Interjection: Defendants purposefully interjected

23          themselves into California by marketing and selling products bearing the Infringing

24          Mark in California. See Silk v. Bond, 65 F.4th 445, 458 (9th Cir. 2023) (“Bond’s

25          interjection into California is analogous to his purposeful availment, and,

26          accordingly, the first factor favors jurisdiction.”) While Defendants allege sales in
27          California are relatively small, they are not minimal. Thus, this factor is neutral or

28          weighs in favor of jurisdiction.
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1       •   Burden on Defendant: “[F]or this factor to weigh against reasonableness, the

2           litigation must be ‘so gravely difficult and inconvenient’ for defendants that they

3           would be placed at a ‘severe disadvantage in comparison to [their] opponent.’”

4           Gutierrez v. Amplify Energy Corp., 634 F. Supp. 3d 780, 790 (C.D. Cal. 2022)

5           (quoting Burger King Corp. v. Rudzewicz, 471 U.S. 462, 478 (1985)). Moreover,

6           the burden on the defendant must be considered in light of the corresponding

7           burden on the plaintiff. See In re ZF-TRW Airbag Control Units Prod. Liab. Litig.,

8           601 F. Supp. 3d 625, 703 (C.D. Cal. 2022). While Defendants will no doubt be

9           burdened by litigating this case in California, they have not presented evidence
10          that the “inconvenience is so great as to constitute a deprivation of due process.”

11          Freestream Aircraft (Bermuda) Ltd. v. Aero L. Grp., 905 F.3d 597, 608 (9th Cir.

12          2018). Additionally, when a defendant “does not identify any specific hardship or

13          otherwise comment on this factor, [it] abdicat[es] its burden on this point.” Tuazon

14          v. R.J. Reynolds Tobacco Co., 433 F.3d 1163, 1175 (9th Cir. 2006). Moreover, as

15          the Ninth Circuit has noted, “modern advances in communications and

16          transportation have significantly reduced the burden of litigating in another

17          [forum].” Id. As such, this factor “barely” weighs against the exercise of personal

18          jurisdiction. See Silk, 65 F.4th at 458.

19      •   Conflicts of Law: Plaintiff has asserted claims under federal trademark law and

20          California law. The conflict of law issue does not create a high jurisdictional barrier

21          when the defendant is “a citizen from a sister state,” because “important

22          sovereignty concerns” do not exist. See Gutierrez, 634 F. Supp. 3d at 791.

23          Moreover, courts in the Ninth Circuit are likely better-positioned to apply California

24          law than Michigan courts, and Defendants have not identified any potential conflict

25          in law. Thus, this factor weighs in favor of jurisdiction.

26      •   Forum’s Interest: Defendants argue that “California has no particular interest in
27          adjudicating this dispute” because all “causes of action in the Complaint come

28          down to Lanham Act Claims that could be adjudicated in any federal court. (Mot.
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1           at 9:25-27). Not so. “California has an interest in providing an effective means of

2           redress for its residents.” Silk, 65 F.4th at 459. Plaintiff is registered to conduct

3           business in California, and it is entitled to the protections offered by the State.

4           Moreover, one of the primary purposes of trademark law is to protect consumers

5           who have formed particular associations with a trademark. See Avery Dennison

6           Corp. v. Sumpton, 189 F.3d 868, 873 (9th Cir. 1999). Thus, “California has a

7           strong interest in protecting its citizens from trademark infringement and consumer

8           confusion.” Allstar Mktg. Grp., LLC v. Your Store Online, LLC, 666 F. Supp. 2d

9           1109, 1125 (C.D. Cal. 2009) (quoting Nissan Motor Co. v. Nissan Computer Corp.,
10          89 F. Supp. 2d 1154, 1161 (C.D. Cal. 2000). This factor weighs in favor of

11          jurisdiction.

12      •   Most Efficient Judicial Resolution: This factor focuses on the location of the

13          evidence and witnesses. See Riot Games, Inc. v. Suga PTE, Ltd., 638 F. Supp. 3d

14          1102, 1119 (C.D. Cal. 2022). However, this factor is no longer weighed heavily

15          given the modern advances in communication and transportation. See Silk, 65

16          F.4th at 459. Moreover, to demonstrate inconvenience of witnesses, the moving

17          party must identify relevant witnesses and describe their anticipated testimony and

18          its relevance. See Saperstein v. Dumont Aircraft Sales, LLC, No. 16-CV-01926-

19          WHO, 2016 WL 4241933, at *5 (N.D. Cal. Aug. 11, 2016). Defendants have not

20          identified any specific witnesses or documents located in Michigan. Instead,

21          Defendants vaguely claim that “all of Defendant’s witnesses would be located in

22          and around Michigan, as well as any relevant physical evidence . . .” (Cutler Decl.

23          ¶17.) Thus, to the extent this factor has any weight, it is neutral.

24      •   Plaintiff’s Interest: Defendants argue that “Plaintiff’s interest in obtaining

25          ‘effective’ relief will be served equally well in any federal court across the United

26          States, including the Eastern District of Michigan” because Plaintiff is a Nevada
27          based company. (Mot. at 10:3-6.) Not so. Plaintiff is registered to conduct

28          business in California. Moreover, the core business activities and trademarks of
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1             Saints & Sinners relevant to this matter are substantially based in or related to

2             California, including but not limited to: (1) its primary wholesale distributor

3             operates within California, (2) the formulation, development, and production of its

4             bestselling products occurred in California, and (3) the Saints & Sinners SS design

5             trademarks were conceived and designed in California. (Wilson Decl. ¶¶10-12.)

6             Litigating in this Court serves Plaintiff’s interest in convenient and effective relief.

7         •   Existence of Alternative Forum: “Whether another reasonable forum exists

8             becomes an issue only when the forum state is shown to be unreasonable.” Silk,

9             65 F.4th at 459. Because Defendants have not made such a showing, this factor
10            weighs in favor of jurisdiction.

11            Considering all of the above factors, Defendants have not made a compelling

12   showing that it would be unreasonable for this Court to exercise personal jurisdiction.

13   C.       This Court is a proper venue under 28 U.S.C. §1391.

14            Defendants argue that this Court is an improper venue under 28 U.S.C.

15   §1391(b)(2) because the “’events’ that supposedly gave rise to Plaintiff’s claims occurred

16   in Michigan, not California,” and Defendants “do not target businesses in California and

17   have minimum sales there.” (Mot. at 11:2-6.). However, “[i]n a trademark infringement

18   action, a substantial part of the events occur both where the labels are affixed and where

19   confusion of purchasers is likely to occur.” Kaia Foods, Inc. v. Bellafiore, 70 F. Supp. 3d

20   1178, 1184 (N.D. Cal. 2014); see Sidco Indus. Inc. v. Wimar Tahoe Corp., 768 F. Supp.

21   1343, 1346 (D. Or. 1991). Here, Defendants operate interactive websites advertising the

22   infringing goods to California residents and they have shipped not insignificant quantities

23   of the products bearing the Infringing Mark to California residents. Thus, venue is proper

24   under 28 U.S.C. §1391(b)(2).

25   D.       Defendants have not made a strong showing of inconvenience necessary to

26            warrant a venue transfer under 28 U.S.C. 1404(a).
27            In the alternative to their motion to dismiss for lack of personal jurisdiction,

28   Defendants ask the Court to transfer the case to the Eastern District of Michigan. (Mot. at
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1    11:16-17.)     However,    Defendants    have    not   made   the   necessary    showing   of

2    inconvenience to warrant such a transfer.

3             As an initial matter, “under section 1404(a), there is significant deference given to

4    the plaintiff's choice of forum, and courts will not usually disturb this choice unless

5    transfer factors heavily favor a venue elsewhere.” Panetta v. SAP Am., Inc., No.

6    C0501696RMW, 2005 WL 1774327, at *5 (N.D. Cal. July 26, 2005). This is particularly

7    true where the plaintiff is a resident of the forum state. See id. In such circumstances,

8    “[t]he defendant must make a strong showing of inconvenience to warrant upsetting the

9    plaintiff's choice of forum.” Decker Coal Co. v. Commonwealth Edison Co., 805 F.2d 834,
10   843 (9th Cir. 1986). Because Plaintiff is registered to conduct business in California and

11   is therefore a resident of California, this significant deference standard applies.

12            Courts in this District commonly consider the following, non-exhaustive list of

13   factors to decide a transfer motion: (1) the plaintiff's choice of forum, (2) convenience of

14   the parties, (3) convenience of the witnesses, (4) ease of access to the evidence, (5)

15   familiarity of each forum with the applicable law, (6) feasibility of consolidation of other

16   claims, (7) any local interest in the controversy, and (8) relative court congestion and time

17   to trial in each forum. See Barnes & Noble, Inc. v. LSI Corp., 823 F. Supp. 2d 980, 993

18   (N.D. Cal. 2011). These factors weigh against transferring this case, as summarized

19   below:

20            •     Plaintiff’s Choice of Forum: As discussed above, courts afford “great

21   weight to the plaintiff’s choice of forum, especially where the plaintiff has filed suit in a

22   district where it resides. See Panetta, 2005 WL 1774327 at *5. This factor weighs heavily

23   against a transfer as this is Plaintiff’s chosen forum.

24            •     Convenience of the Parties: This factor is neutral and/or insignificant as

25   Michigan would be more convenient for Defendants, while California is more convenient

26   for Plaintiff. See Greenley v. Kochava, Inc., 684 F. Supp. 3d 1024, 1045 (S.D. Cal. 2023).
27            •     Convenience of the Witnesses: The relative convenience to the

28   witnesses is often recognized as the most important factor to be considered in ruling on a
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1    motion under section 1404(a). Defendants have made no attempt to identify witnesses

2    with any particularity. (Cutler Decl. ¶17.) Thus, this factor is neutral. See Fitbit, Inc. v.

3    Koninklijke Philips N.V., 336 F.R.D. 574, 587 (N.D. Cal. 2020).

4            •     Ease of Access to Evidence: Defendants argue that relevant physical

5    evidence will be located in and around Michigan. (Mot. at 12:6). However, Defendants

6    have not identified any specific physical evidence, and modern technology has rendered

7    the location of documents “much less important to determining the convenience of the

8    parties than it once was”. Adobe Sys. Inc. v. Bargain Software Shop, LLC, No. C-14-

9    3721 EMC, 2014 WL 6982515, at *2 (N.D. Cal. Dec. 8, 2014). This factor is thus neutral.
10           •     Familiarity with Applicable Law: The primary claims raised in this

11   litigation are federal trademark claims and California claims. A court in either Michigan or

12   California will be familiar with the applicable federal law, but this Court will be more

13   familiar with California law. As such, this factor weighs slightly in favor of Plaintiff.

14           •     Feasibility of Consolidation of Other Claims: This factor is not applicable

15   as there are no other claims to consider for consolidation.

16           •     Local Interest in Controversy: As discussed above, a primary purpose of

17   trademark law is to protect consumers. See Avery Dennison Corp., 189 F.3d at 873.

18   Thus, California courts have an interest in protecting California consumers who may be

19   harmed by Defendants infringement. As such, this factor weighs against a transfer.

20           •     Relative Court Congestion/Time to Trial: The median time from filing to

21   disposition for cases that are disposed of during or after pretrial is 15.7 months for the
22   Northern District of California and 15.5 months for the Eastern District of Michigan.
23   (Kronenberger Decl. ¶11 & Ex. G.) The median disposition time for all civil cases is
24   also similar. (Kronenberger Decl. ¶11 & Ex. G.) Thus, this factor is neutral.
25           Considering all of the relevant factors, Defendants have not made the strong
26   showing of inconvenience needed to warrant a transfer under 28 U.S.C. §1404(a).
27   //
28   //
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1                                        CONCLUSION

2           For all of the reasons set forth above, the Court should Deny Defendants’ the

3    Motion to Dismiss Complaint for Lack of Personal Jurisdiction and Improper Venue.

4

5    Respectfully Submitted,

6    DATED: October 11, 2024                      KRONENBERGER ROSENFELD, LLP

7

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9
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